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IN THE UNITED STATES DlSTRICT COURT Fl!ii'-> -
FoR THE WESTERN DISTRICT OF TENNESSEE _ l M _ j 0
WESTERN DIVISIoN 05 M% 27 Pn w

 

COILMASTER CORPORATION,

 

Plaintiff,

vs.
Civil Action No. 04-28]3-MIV
MlDWEST MOTOR EXPRESS, INC.

Defendant.

 

JOINT PROPOSED RULE 16(B) SCHE])ULING ORDER

 

Counsel for both parties proposed the following modified Scheduling order:
l . JOINT PROPOSED DISCOVERY PLAN

INTIAL DISCLOSURES pursuant to

Fed.eral Rule of Civil Procedure 26(3)(1): by December 31, 2004;
JOTNING PARTIES: by February 15, 2005;
AMENDlNG PLEADINGS: by March 15, 2005;
INITIAL MOTIONS TO DISMISS: by April 15, 2005;
a. Depositions, Inten“ogatories,

Document Production,

and Requests for Admissions: by July 15, 2005;

b. Expert Witness Disclosure (Ru]e 26):

(l) Disclosure ofP]aintiff"s Rule
26 Expert Inforrnation: by August 15 , 2005;

(2) Disclosure of Defendant’s
Rule 26 Expert
lnformation: by September 15, 2005

(3) Expert Witness
Depositions: by November 15, 2005

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wlth Rule 58 and/or 79(a) FHCP on Q'/Q~ Q~‘/g §§ @

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c. Dispositive l\/lotions: by January 15, 2006.
2. Counsel does not anticipate any change to the limitations of Discovery lmposed under the
F ederal Rules of Civil Procedure or this Court’s local rules. The parties are agreed that the
parties’ lnitial Disclosures do not count as interrogatories, Which are limited to a maximum of
thirty (30) interrogatories, including subparts, pursuant to Federal Rule of Civil Procedure 33.

3. The case is set for a non-jury trial and the trial is expected to last three (3) days.

4. The case is appropriate for ADR.

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UNITED STATES BPS‘FRICT IUDGE
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This notice confirms a copy ofthe document docketed as number 12 in
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Honorable .l on McCalla
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